            The court incorporates by reference in this paragraph and adopts as the findings and orders
            of this court the document set forth below. This document has been entered electronically in
            the record of the United States Bankruptcy Court for the Northern District of Ohio.




                                 Dated: November 7 2017




                                                            United States Bankruptcy Court
                                                                     Northern District of Ohio
 In re      CHRISTINE MCCANN                                                                     Case No.   16-31867 W
                                                                                Debtor(s)        Chapter    13




                                                                             ORDER

 The sum of $ 3,000.00 is hereby allowed Applicant as compensation for the services referred to in the above Application
 and the Trustee is directed to pay the unpaid balance thereof, the sum of $ 1,810.00 from the estate in accordance with
 the Plan.




Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                       Best Case Bankruptcy




           16-31867-maw                    Doc 54            FILED 11/07/17       ENTERED 11/07/17 16:09:20     Page 1 of 1
